Case 2:17-cv-02565-SJF-SIL Document 1 Filed 04/28/17 Page 1 of 35 PageID #: 1




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK



                                          x
ROGER EMERSON, MARY EMERSON,                  Civil Action No.
ROBERT CAPLIN and MARTHA J.
GOODLETT, Individually and on Behalf of       CLASS ACTION
All Others Similarly Situated,
                                              COMPLAINT FOR VIOLATIONS OF THE
                          Plaintiffs,         SECURITIES ACT OF 1933

      vs.

MUTUAL FUND SERIES TRUST,
CATALYST CAPITAL ADVISORS LLC,
NORTHERN LIGHTS DISTRIBUTORS LLC,
JERRY SZILAGYI, TOBIAS CALDWELL,
TIBERIU WEISZ, BERT PARISER, ERIK
NAVILOFF and EDWARD WALCZAK,

                          Defendants.
                                          x   DEMAND FOR JURY TRIAL
Case 2:17-cv-02565-SJF-SIL Document 1 Filed 04/28/17 Page 2 of 35 PageID #: 2




       Plaintiffs, individually and on behalf of all others similarly situated, by plaintiffs'

undersigned attorneys, for plaintiffs' complaint against defendants, allege the following based

upon personal knowledge as to plaintiffs and plaintiffs' own acts and upon information and

belief as to all other matters based on the investigation conducted by and through plaintiffs'

attorneys, which included, among other things, a review of U.S. Securities and Exchange

Commission ("SEC") filings by the Mutual Fund Series Trust, as well as media and analyst

reports about the Catalyst Hedged Futures Strategy Fund (the "Catalyst Futures Fund" or the

"Fund") and press releases and shareholder communications regarding the Fund.          Plaintiffs

believe that substantial additional evidentiary support will exist for the allegations set forth

herein after a reasonable opportunity for discovery.

                                 NATURE OF THE ACTION

               This is a securities class action on behalf of all persons who purchased shares of

the Catalyst Futures Fund between November 1, 2014 and April 28, 2017 (the "Class Period"),

seeking to pursue remedies under the Securities Act of 1933 (the "1933 Act") against the

registrant for the Fund, certain of the Fund's executive officers and/or trustees, the investment

advisor to the Fund, Catalyst Capital Advisors, LLC ("Catalyst Advisors"), and the underwriter

for the ongoing offering of Fund shares to the public.

               The Fund is a mutual fund that invests primarily in long and short call and put

options on Standard & Poor's 500 Index (the "S&P 500") futures contracts and in cash and cash

equivalents, including high quality short-term fixed income securities such as U.S. Treasury

securities. It is part of the Mutual Fund Series Trust, an open-end investment management

company.

               The Catalyst Futures Fund only has a short operating history as a mutual fund.

Prior to August 2013, the Fund was organized as a limited liability company known as Harbor
Case 2:17-cv-02565-SJF-SIL Document 1 Filed 04/28/17 Page 3 of 35 PageID #: 3




Assets, LLC ("Harbor Assets"), a hedge fund. This represented a significant shift, as the change

to a mutual fund allowed Catalyst Advisors to raise capital for the Fund from ordinary retail

investors and the general public. By contrast, hedge funds are generally limited to high net-

worth individuals and institutional investors, who are presumed to be more sophisticated in

analyzing investment strategies and risks and more capable of conducting their own due

diligence. Consequently, mutual funds are much more extensively regulated than hedge funds

under the Investment Company Act of 1940 (the "ICA") and other laws, which limit the amount

of risk mutual funds can take on and provide enhanced registration and disclosure obligations,

among other rules and regulations.

       4.      After the Catalyst Futures Fund was reorganized as a mutual fund, defendants

marketed and sold shares of the Fund as a low-risk, low-volatility investment with minimal

correlation to the U.S. equity market. For example, according to the Fund's Prospectuses, the

Fund's investment objective is "capital appreciation and capital preservation      in all market

conditions, with low volatility and low correlation to the US equity market'" The Prospectuses

also state that the Fund "places a strong focus on risk management that is intended to provide

consistency of returns and to mitigate the extent of losses. . . . [T]he Fund employs strict risk

management procedures       to adjust portfolio   exposure as necessitated by changing market

conditions"

               These statements and others like them in the Fund's Prospectuses and

Registration Statements were inaccurate statements of material fact because they did not disclose

that the Catalyst Futures Fund continued to invest as if it were a hedge fund, taking massive

directional bets against U.S. stock market indexes through complex derivative instruments,

thereby exposing investors to the heightened risk of loss of capital.
Case 2:17-cv-02565-SJF-SIL Document 1 Filed 04/28/17 Page 4 of 35 PageID #: 4




        6.      Then, in February 2017, the Catalyst Futures Fund experienced a sudden,

dramatic drop in the net asset value ("NAV") of Fund shares, with $600 million of Fund value

evaporating in a matter of days. In a two-week timespan, between February 2 and February 15,

2017, the NAV for the Fund's HFXAX share class plummeted from $10.59 per share to $8.98

per share, a decline of more than 15%. Such a rapid deterioration in NAV is extremely unusual

for a mutual fund given the extensive regulatory framework designed to prevent excessive risk-

taking and to safeguard mutual fund investors.

                Around this same time, several media organizations began reporting on the

shocking erosion in Fund value, with news organizations characterizing the loss as a "'melt-

down'" and stating that the Fund was "'blowing up.'"           Given the lack of detail in Fund

disclosures to investors, many articles struggled to explain how such a large loss was possible for

a mutual fund, especially one that marketed itself as low risk and insulated from market volatility

and that was focused on capital preservation. A question posed by investor news organization

Seeking Alpha illustrated the quandary: "How does a seemingly low to moderate risk mutual

find, whose investment objective is capital preservation . . . suddenly find itself losing 15% in

one week?' ,1 The article characterized the Fund's investment strategy as "not well understood"

with "risks [that] are not apparent"     Notwithstanding contrary representations in the Fund's

offering materials, the author opined that recent events had revealed the Fund to in fact be a

"high-risk derivatives fund that can generate significant principal loss over a very short time

frame," and that it was "unfair to market this type of strategy as a 'capital preservation strategy'

because it clearly isn't"




    Catalyst Hedged Futures Strategy Fund Off the Rails, Seeking Alpha (Feb. 17, 2017),
http://seekingalpha.com/article/4047142-catalyst-hedged-futures-strategy-fund-rails.
    Case 2:17-cv-02565-SJF-SIL Document 1 Filed 04/28/17 Page 5 of 35 PageID #: 5




         8     As would eventually be revealed over time, the Catalyst Futures Fund had taken

out massive option contracts that effectively "shorted" the S&P 500, meaning that the Fund had

made a directional bet that the general equity market would not rise significantly in value. As

the market rallied around the time these options were set to expire in mid-February 2017, the

Fund experienced rapidly accelerating losses, as it had little time for the market to reverse itself

and for the bet to return to profitability.    Given the opaque nature of the Fund's financial

disclosures, the size of these bets is not currently known with certainty, even to sophisticated

outside investors - let alone ordinary mutual fund investors - although traders and various news

organizations have provided estimates as high as $17 billion (compared to the Fund's $3 to $4

billion portfolio). 2 What is clear is that the Fund placed hundreds of millions of dollars of

directional bets completely out of proportion with the marketed risk profile of the Fund. Even

though the Fund's offering materials misleadingly touted its investment strategy as having "low

correlation to the US equity market," as the following graph created by market commentators on

the Fund demonstrates, the exact opposite was true: the Fund and the U.S. equity market were

highly correlated in rapidly rising equity markets, which amplified undisclosed risks for the

Fund's investors:




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     See, e.g., Tyler Durden, Here Is the 'Catalyst' For the Market's Inexplicable Surge: A $17
Billion Trade Gone Wrong, ZeroHedge (Feb. 16, 2017), http://www.zerohedge.com/news/2017-
02-15/multi-billion-trade-meltdown-here-reason-markets-inexplicable-surge.
3
    In investing, correlation can be either positive or negative, and simply means "the degree to
which two securities move in relation to each other." Correlation, Investopedia,
http://www.investopedia.com/terms/c/correlation.asp.

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Case 2:17-cv-02565-SJF-SIL Document 1 Filed 04/28/17 Page 6 of 35 PageID #: 6




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        9.                 As these undisclosed risks materialized, the Fund's investors suffered hundreds of

millions of dollars in losses, with the value of Fund assets plummeting over $1 billion since the

beginning of 2017. Between February 2, 2017 and March 15, 2017, the NAV of the Fund's

HFXAX share class, HFXCX share class, and HFXIX share class have each declined

approximately 21%, or $2.22 per share, $2.16 per share and $2.23 per share, respectively.

                                             JURISDICTION AND VENUE

        10.                This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §1331 and §22 of the 1933 Act [15 U.S.C. §77v].

        11.                The claims asserted herein arise under and pursuant to §§11, 12(a)(2) and 15 of

the 1933 Act [15 U.S.C. §§77k, 77l(a)(2) and 77o]. In connection with the acts complained of,

defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

including, but not limited to, the mails, interstate telephone communications and the facilities of

the national securities markets.

        12.                Venue is proper in this District pursuant to 28 U.S.C. §1391(b).                  Defendant

Catalyst Advisors, the investment advisor for the Fund, maintains its headquarters in this

District. Many of the acts that are the subject of this action took place in this District.
Case 2:17-cv-02565-SJF-SIL Document 1 Filed 04/28/17 Page 7 of 35 PageID #: 7




                                            PARTIES

Plaintiffs

        13.    Plaintiff Roger Emerson acquired the Fund's shares pursuant to one or more of

the Registration Statements and Prospectuses at issue as set forth in the attached certification and

has been damaged thereby.

        14.    Plaintiff Mary Emerson acquired the Fund's shares pursuant to one or more of the

Registration Statements and Prospectuses at issue as set forth in the attached certification and has

been damaged thereby.

        15.    Plaintiff Robert Caplin acquired the Fund's shares pursuant to one or more of the

Registration Statements and Prospectuses at issue as set forth in the attached certification and has

been damaged thereby.

        16.    Plaintiff Martha J. Goodlett acquired the Fund's shares pursuant to one or more of

the Registration Statements and Prospectuses at issue as set forth in the attached certification and

has been damaged thereby.

Corporate Defendants

        17.    Defendant Mutual Fund Series Trust (the "Trust") is registered under the ICA as

an open-end investment company with several investment funds, including the Catalyst Futures

Fund, marketed under the Catalyst brand. The Trust is organized as an Ohio business trust, with

a principal place of business in Omaha, Nebraska. The Catalyst Futures Fund is a mutual fund

within the Trust series of mutual funds.      It offers three share classes to investors with the

following ticker symbols HFXAX (Class A shares), HFXCX (Class C shares) and HFXIX (Class

I shares).

        18.    Defendant Catalyst Advisors is the investment advisor for the Fund.             It is

headquartered in Huntington, New York.

                                                -6-
Case 2:17-cv-02565-SJF-SIL Document 1 Filed 04/28/17 Page 8 of 35 PageID #: 8




          19.   Defendant Northern Lights Distributors LLC (referred to herein as the

"Distributor") is the principal underwriter and the national distributor for the shares of the Fund.

The Distributor also served as the Trust's agent for the purpose of the continuous public offering

of the Fund's shares.

Individual Defendants

          20.   Defendant Jerry Szilagyi ("Szilagyi") was at all relevant times the Chairman of

the Board of Trustees of the Fund, as well as the Fund's President and Principal Executive

Officer. He signed each of the Registration Statements effective during the Class Period.

          21.   Defendant Tobias Caldwell was at all relevant times a member of the Board of

Trustees of the Fund and signed each of the Registration Statements effective during the Class

Period.

          22.   Defendant Tiberiu Weisz was at all relevant times a member of the Board of

Trustees of the Fund and signed each of the Registration Statements effective during the Class

Period.

          23.   Defendant Bert Pariser was at all relevant times a member of the Board of

Trustees of the Fund and signed each of the Registration Statements effective during the Class

Period.

          24.   Defendant Erik Naviloff was at all relevant times the Treasurer and Principal

Financial Officer for the Fund. He signed each of the Registration Statements effective during

the Class Period.

          25.   Defendant Edward Walczak ("Walczak") was at all relevant times the portfolio

manager of the Fund and responsible for its day-to-day management and the investment of Fund

assets.
Case 2:17-cv-02565-SJF-SIL Document 1 Filed 04/28/17 Page 9 of 35 PageID #: 9




       26.     The defendants listed in ^ 2 0 - 2 4 are referred to herein as the "Trustee

Defendants."   The Trustee Defendants and defendant Walczak are referred to herein as the

"Individual Defendants."

                                       BACKGROUND

       27.     Defendant Walczak launched Harbor Assets as a hedge fund in December 2005

and served as its portfolio manager.     As a hedge fund, there is limited publicly available

information about Harbor Assets' activities, but it appears to have employed a complex options

and derivatives investment strategy.

       28.     In August 2013, defendant Walczak, together with Catalyst Advisors, converted

Harbor Assets into a mutual fund, the Catalyst Futures Fund, within the Catalyst Advisors'

mutual fund family. In a Catalyst Advisors press release announcing the change to a mutual

fund, defendant Walczak was quoted as stating, "'I'm pleased to be able to offer the fund I have

been managing for the last seven years to a broader investor base that may benefit from the

strategy.'" The conversion to a mutual fund allowed defendants to market and sell the Catalyst

Futures Fund to the general public, including retail investors who may not have the same

investment sophistication, ability to analyze risks, or resources to conduct independent due

diligence as the Fund's prior hedge fund clients. Generally anyone could now invest in the Fund,

so long as they invested the minimum amount and paid the related fees.

       29.     When it converted to a mutual fund, the Catalyst Futures Fund became subject to

an extensive regulatory framework designed to safeguard the investing public, which was

inapplicable when it operated as a hedge fund. For example, a mutual fund must register as an

investment company under the ICA and, if it offers its securities to the public, the offering must

be registered under the 1933 Act. Mutual fund advisors must also file periodic reports with the

SEC, provide enhanced disclosures to mutual fund investors, act in the best interests of their
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Case 2:17-cv-02565-SJF-SIL Document 1 Filed 04/28/17 Page 10 of 35 PageID #: 10




clients, and implement extensive risk management and operational controls and procedures. In

addition, mutual fund shares must be priced daily at NAV, and investors generally must be able

to freely redeem their shares. Because they must maintain portfolio liquidity to satisfy share

redemptions and to protect investors, mutual funds are also subject to various investment

restrictions, including limits on the amount of risk they may take on, their ability to concentrate

investments in an issuer or industry, the amount of leverage they can be exposed to, and the

types of securities they can invest in.

        30.    While Fund materials touted Harbor Assets' prior performance, claiming that the

hedge fund had experienced positive returns every year since its inception, the Fund Fact Sheet

acknowledged that its future investment strategies would be restricted by its conversion to a

mutual fund: "the predecessor limited liability company was not subject to certain investment

restrictions, diversification requirements and other restrictions of the [ICA], which if they had

been applicable, might have adversely affected its performance."

        31.     The Catalyst Futures Fund has three share classes, each with different associated

fees and expenses. According to the November 1, 2016 Summary Prospectus for the Fund, share

Class A, which uses the ticker "HFXAX," charged a maximum sales charge of 5.75%, a deferred

sales charge of 1%, and total had annualized operating expenses of 2.26%; share Class C, which

uses the ticker "HFXCX," charged total annualized operating expenses of 3.01%; and share

Class I, which uses the ticker "HFXIX," charged total annualized operating expenses of 2.01%.

        32.     The Fund is marketed as a low-risk, low-volatility mutual fund that is designed to

perform regardless of market conditions. As of November 1, 2016, the Fund's offering materials

characterized its investment objective as "capital appreciation and capital preservation in all

market conditions, with low volatility and low correlation to the US equity market." The Fact



                                               -9-
Case 2:17-cv-02565-SJF-SIL Document 1 Filed 04/28/17 Page 11 of 35 PageID #: 11




Sheet for the Fund states it "is managed as an absolute return, market neutral strategy." The

Fund's primary investment strategy involves buying and selling options and option spreads on

stock index futures.      Given the complexity of valuing these positions, commentators have

described the Fund's investment strategy as a "black box," with strategies that are "not well

understood" and "risks [that] are not apparent." Its strategy is so unique for a mutual fund that

the mutual fund investment research firm, MorningStar, had mischaracterized the Fund for more

than three years as a "managed futures fund" until February 2017, when it moved the Fund into

the options writing category. Commenting on the mistake, defendant Szilagyi, CEO of Catalyst

Advisors, reportedly stated, "'That's not the best fit, either . . . . The Fund is unique. There

really isn't a good category for it.'"

           33.    The difficulty of evaluating the Fund's holdings, its true investment strategy and

the strategy's attendant risks is compounded by the fact that the Fund engages in "dynamic

hedging," whereby it actively buys and exits positions to manage risk, avoid losses and take

profits.     Whereas the Fund reports its positions to investors on a quarterly basis, dynamic

hedging strategies require regular and ongoing trading in complex financial products.

           34.   Defendants issued and distributed the following documents in connection with the

continuous offering of the Fund's shares to the investing public during the Class Period:

                  (a)    The Fund Prospectuses, which formed part of the Registration Statements,

dated November 1, 2014, November 1, 2015, and November 1, 2016 (collectively, the

"Prospectuses");

                  (b)    The Fund Summary Prospectuses dated November 1, 2014, November 1,

2015, and November 1, 2016 (collectively, the "Summary Prospectuses");




                                                - 10 -
Case 2:17-cv-02565-SJF-SIL Document 1 Filed 04/28/17 Page 12 of 35 PageID #: 12




               (c)      The Fund statement of additional information, which was expressly

incorporated into the Prospectuses and thereby the Registration Statements, dated November 1,

2014, November 1, 2015, and November 1, 2016;

               (d)      The Fund Registration Statements dated November 13, 2014, November 5,

2015, and November 3, 2016 (collectively, the "Registration Statements"); and

               (e)      The Fund "Fact Sheet," which was used by defendants to solicit

purchasers of Fund shares.

       35.     The documents referenced in ^34 are collectively referred to herein as the

"Offering Materials."

                    DEFENDANTS' MATERIALLY FALSE AND
             MISLEADING STATEMENTS IN THE OFFERING MATERIALS

       36.     Defendants made materially false and misleading statements in the Offering

Materials regarding the Fund's investment strategy and the risks to investors of investing in Fund

shares. For example, the Offering Materials stated that the Fund's investment strategy "is capital

appreciation and capital preservation in all market conditions, with low volatility and low

correlation to the US equity market"     Similarly, the Fact Sheet for the Fund stated that it "is

managed as an absolute return, market neutral strategy"        These statements were materially

false and misleading because they failed to disclose that the Fund's investment strategy was not

"market neutral" with "low" market correlation, but highly correlated to a rapidly rising equity

market, which, if that occurred, would eviscerate Fund capital and cause severe losses for Fund

investors.

       37.     The Offering Materials also failed to disclose the true risks related to the Fund's

investment strategy of buying and selling options and options spreads on stock index futures.

While the Offering Materials stated that the Fund may occasionally "enter options spreads that

                                              - 11 -
Case 2:17-cv-02565-SJF-SIL Document 1 Filed 04/28/17 Page 13 of 35 PageID #: 13




will profit from an established price trend," they stated that "in general, the strategy does not

depend on a prediction of equity market direction, and is designed to produce returns that are

not correlated with equity market returns." Notably, while the Offering Materials mentioned

potential "profits" from directional market trends, they failed to disclose the risk that the Fund

would suffer dramatic losses (20+%) in a rapidly rising equity market.

       38.     Similarly, while the Offering Materials provided boilerplate risk disclosures

such as "[o]verall stock market risks may also affect the value of the Fund" and "[i]]f the

derivative is linked to the performance of an index, it will be subject to the risks associated with

changes in that index" - they failed to disclose the concrete and specific risk to investors that the

Fund stood to lose hundreds of millions of dollars in NAV as a result of its investment strategy in

a rapidly rising equity market. To the contrary, the Offering Materials misleadingly implied that

the Fund would benefit from purchasing "stock index futures" during a "market advance," as

such a strategy "affords a hedge against a Fund not participating in a market advance when it

is not fully invested and serves as a temporary substitute for the purchase           of individual

securities, which may later be purchased in a more advantageous manner"

       39.     The Offering Materials also highlighted the Fund's purportedly robust risk

management procedures, which they claimed minimize risks for the Fund's investors and

mitigate the extent of any losses. The Offering Materials stated in pertinent part as follows:

               The Fund places a strong focus on risk management that is intended to
       provide consistency of returns and to mitigate the extent of losses. Positions are
       entered on a continuous basis across different option exercise prices and
       expiration months. Supported by sophisticated options analysis software, the
       Fund employs strict risk management procedures to adjust portfolio exposure
       as necessitated by changing market conditions . . . .




                                               - 12 -
Case 2:17-cv-02565-SJF-SIL Document 1 Filed 04/28/17 Page 14 of 35 PageID #: 14




These statements were false and misleading because the various hedging activities employed by

the Fund were themselves a source of significant risk for Fund investors and would significantly

increase the extent of losses in the event of a rapidly rising equity market.

       40.     In addition, Item 303 o f S E C Regulation S-K, 17 C.F.R. §229.303(a)(3)(ii),

requires defendants to "[d]escribe any known trends or uncertainties that have had or that the

registrant reasonably expects will have a material favorable or unfavorable impact on the sales or

revenues or income from continuing operations." Similarly, Item 503 of SEC Regulation S-K,

17 C.F.R. §229.503, requires, in the "Risk Factor" section of the Registration Statements and

Prospectuses, "a discussion of the most significant factors that make the offering speculative or

risky" and requires each risk factor to "adequately describe[]the risk." The failure to disclose in

the Offering Materials the risk of severe losses to Fund investors in the case of a rapidly rising

equity market violated 17 C.F.R. §229.303(a)(3)(ii) because it would (and did) have an

unfavorable impact on the Fund's net investment income from operations.           The failure also

violated 17 C.F.R. §229.503 because this specific risk was not adequately disclosed, or disclosed

at all, even though it was one of the most significant factors that made an investment in Fund

shares speculative or risky.

       41.     Then, in February 2017, the Catalyst Futures Fund experienced a sudden,

precipitous decline in the NAV of Fund shares, with $600 million of Fund value evaporating in a

matter of days. In a two-week timespan, between February 2 and February 15, 2017, the NAV

for the Fund's HFXAX share class plummeted from $10.59 per share to $8.98 per share, a

decline of more than 15%. Such a rapid deterioration in NAV is extremely unusual for a mutual

fund given the extensive regulatory framework designed to prevent excessive risk-taking and to

safeguard mutual fund investors.



                                                - 13 -
Case 2:17-cv-02565-SJF-SIL Document 1 Filed 04/28/17 Page 15 of 35 PageID #: 15




       42.     Around this same time, several media organizations began reporting on the

shocking erosion in Fund value, with news organizations characterizing the loss as a "'melt-

down'" and stating that the Fund was "'blowing up.'"             Given the lack of detail in Fund

disclosures to investors, many of these articles struggled to explain how such a large loss was

possible for a mutual fund, especially one that marketed itself as low risk and relatively insulated

from market movements and that was focused on capital preservation.              For example, news

organization Seeking Alpha posed the question: "How does a seemingly low to moderate risk

mutual find, whose investment objective is capital preservation . . . suddenly find itself losing

15% in one week?" 4      The article characterized the Fund's investment strategy as "not well

understood" with "risks [that] are not apparent"          The author stated that recent events had

revealed the Fund to in fact be a "high-risk derivatives fund that can generate significant

principal loss over a very short time frame," and that it was "unfair to market this type of

strategy as a 'capital preservation strategy' because it clearly isn't"     Likewise, another article

noted that "legitimate options strategies . . . typically involve reducing risk, not increasing it," as

the options strategies employed by Catalyst Advisors appeared to have done.5

       43.     As would eventually be revealed over time, the Catalyst Futures Fund had taken

out massive options contracts that effectively "shorted" the S&P 500, meaning that the Fund had

made a directional bet that the equity market would not rise significantly in value. As the market

rallied around the time these options were set to expire in mid-February 2017, the Fund

experienced rapidly accelerating losses, as it had little time for the market to reverse itself and

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    Catalyst Hedged Futures Strategy Fund Off the Rails, Seeking Alpha (Feb. 17, 2017),
http://seekingalpha.com/article/4047142-catalyst-hedged-futures-strategy-fund-rails.
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    Paul Jacobs, Another "Black-Box" Strategy Disappoints Investors," Palisades Hudson Fin.
Group LLC (Mar. 1, 2017), www.palisadeshudson.com/2017/03/another-black-box-strategy-
disappoints-investors/.

                                                - 14 -
Case 2:17-cv-02565-SJF-SIL Document 1 Filed 04/28/17 Page 16 of 35 PageID #: 16




for the bet to return to profitability. Some news organizations even speculated that the Fund's

hedging strategy had actually contributed to the market upswing, as it rushed to buy underlying

equity securities to hedge its failing stock index options strategy. Regardless of the impact on

the overall market, the need to buy underlying equities in a rising market would likely have

contributed to Fund losses, because, as Matt Levine of Bloomberg has noted, the Fund would

essentially be stuck "buying high and selling low."

       44.     Given the opaque nature of the Fund's financial disclosures, the size of these bets

is not currently known with certainty even to sophisticated outside investors - let alone ordinary

mutual fund investors   although traders and various news organizations have provided estimates

as high as $17 billion (compared to the Fund's $3 to $4 billion portfolio).6 What is clear is that

the Fund placed hundreds of millions of dollars of directional bets completely out of proportion

with the marketed risk profile of the Fund.       Even though the Fund's Offering Materials

misleadingly touted its investment strategy as having "low correlation to the US equity market,"

as the following graph created by a commentator on the Fund demonstrates, the exact opposite

was true: the Fund and the U.S. equity market were highly correlated in rapidly rising equity

markets, which amplified undisclosed risks for the Fund's investors:




6
     See, e.g., Tyler Durden, Here Is the 'Catalyst' For the Market's Inexplicable Surge: A $17
Billion Trade Gone Wrong, ZeroHedge (Feb. 16, 2017), http://www.zerohedge.comnews2017-
02-15/multi-billion-trade-meltdown-here-reason-markets-inexplicable-surge. While representa-
tives of the Fund have publicly disputed the size of the soured bets as estimated by outside
financial analysts (without providing the actual figures), they have confirmed the essential
sequence of events that led to the Fund's losses and that the extraordinary size of these losses
were the result of the Fund's options trading strategy.

                                              - 15 -
Case 2:17-cv-02565-SJF-SIL Document 1 Filed 04/28/17 Page 17 of 35 PageID #: 17




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       45.           As these undisclosed risks materialized, the Fund's investors suffered hundreds of

millions of dollars in losses, with the value of Fund assets plummeting over $1 billion since the

beginning of 2017. Between February 2, 2017 and March 15, 2017, the NAV of the Fund's

HFXAX share class, HFXCX share class and HFXIX share class have each declined

approximately 21%, or $2.22 per share, $2.16 per share and $2.23 per share, respectively.

                                         CLASS ACTION ALLEGATIONS

       46.           Plaintiffs bring this action as a class action pursuant to Rule 23 of the Federal

Rules of Civil Procedure on behalf of all persons who purchased shares of the Catalyst Futures

Fund during the Class Period (the "Class"). Excluded from the Class are defendants and their

families, the officers and directors of the Fund, at all relevant times, members of their immediate

families and their legal representatives, heirs, successors or assigns, and any entity in which

defendants have or had a controlling interest.

       47.           The members of the Class are so numerous that joinder of all members is

impracticable.            As of December 31, 2016, there were over 120 million HFXAX shares, 39

million HFXCX shares, and 214 million HFXIX shares outstanding. While the exact number of

Class members is unknown to plaintiffs at this time and can only be ascertained through

                                                   - 16 -
Case 2:17-cv-02565-SJF-SIL Document 1 Filed 04/28/17 Page 18 of 35 PageID #: 18




appropriate discovery, plaintiffs believe that there are hundreds or thousands of members in the

proposed Class. Record owners and other members of the Class may be identified from records

maintained by the Fund or its agents and may be notified of the pendency of this action by mail,

using the form of notice similar to that customarily used in securities class actions.

        48.       Common questions of law and fact predominate and include: (i) whether

defendants violated the 1933 Act; (ii) whether defendants omitted and/or misrepresented material

facts; and (iii) the extent and appropriate measure of damages.

        49.       Plaintiffs' claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by defendants' wrongful conduct in violation of

federal law that is complained of herein.

        50.       Plaintiffs will fairly and adequately protect the interests of the members of the

Class and have retained counsel competent and experienced in class and securities litigation.

        51.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation make it impossible for members of the Class to individually

redress the wrongs done to them. There will be no difficulty in the management of this action as

a class action.

                                                COUNT I

                               For Violation of §11 of the 1933 Act
                  Against the Trust, the Distributor and the Trustee Defendants

        52.       Plaintiffs incorporate all allegations in ^ 1 - 5 1 above by reference.

        53.       This Count is brought pursuant to §11 of the 1933 Act on behalf of plaintiffs and

the Class against the Trust, the Distributor and the Trustee Defendants.


                                                   - 17 -
Case 2:17-cv-02565-SJF-SIL Document 1 Filed 04/28/17 Page 19 of 35 PageID #: 19




       54.     The Registration Statements were inaccurate and misleading, contained untrue

statements of material fact, omitted to state other facts necessary to make the statements made

not misleading, and omitted to state material facts required to be stated therein.

       55.     The Trust is the registrant for the shares of the Fund, and as such is strictly liable

for the false statements contained in the Registration Statements. The Distributor, as the Fund's

underwriter, and the Trustee Defendants who signed the Registration Statements, were

responsible for the contents and dissemination of the Registration Statements.

       56.     None of the defendants named herein made a reasonable investigation or

possessed reasonable grounds for the belief that the statements contained in the Registration

Statements were true and without omissions of any material facts and were not misleading.

       57.     By reasons of the conduct herein alleged, each defendant violated, and/or

controlled a person who violated, §11 of the 1933 Act.

       58.     Plaintiffs acquired shares of the Fund during the Class Period and pursuant to the

Registration Statements.

       59.     Plaintiffs and the Class have sustained damages. The value of the shares of the

Fund has declined substantially subsequent to and due to defendants' violations.

       60.     At the times they purchased shares of the Fund, plaintiffs and other members of

the Class were without knowledge of the facts concerning the wrongful conduct alleged herein.

Less than one year had elapsed from the time that plaintiffs discovered or reasonably could have

discovered the facts upon which this complaint is based to the time of filing of the initial

complaint in this action. Less than three years elapsed between the time that the securities upon

which this Count is brought were offered to the public and the time of the filing of the initial

complaint.



                                               - 18 -
Case 2:17-cv-02565-SJF-SIL Document 1 Filed 04/28/17 Page 20 of 35 PageID #: 20




                                             COUNT II

                           For Violation of §12(a)(2) of the 1933 Act
                                    Against All Defendants

       61.     Plaintiffs incorporate all allegations in ^ 1 - 6 0 above by reference.

       62.     This Count is brought pursuant to §12(a)(2) of the 1933 Act on behalf of plaintiffs

and the Class against all defendants.

       63.     Defendants were sellers and offerors and/or solicitors of purchasers of the shares

of the Fund offered pursuant to the Registration Statements, Prospectuses and other Offering

Materials and were motivated by a desire to serve their own financial interests or those of the

Fund or Catalyst Advisors.

       64.     The Prospectuses contained untrue statements of material fact, omitted to state

other facts necessary to make the statements made not misleading, and omitted to state material

facts required to be stated therein.     Catalyst Advisors', the Individual Defendants' and the

Distributor's actions of solicitation included participating in the preparation of the false and

misleading Prospectuses and participating in marketing the shares of the Fund to investors.

       65.     Defendants owed to the purchasers of Fund shares, including plaintiffs and other

Class members, the duty to make a reasonable and diligent investigation of the statements

contained in the Prospectuses and corresponding supplements and amendments to ensure that

such statements were true and that there was no omission to state a material fact required to be

stated in order to make the statements contained therein not misleading. Defendants, in the

exercise of reasonable care, should have known of the misstatements and omissions contained in

the Prospectuses as set forth above.

       66.     Plaintiffs and other members of the Class purchased or otherwise acquired shares

of the Fund pursuant to the defective Prospectuses. Plaintiffs did not know, nor in the exercise


                                                - 19 -
Case 2:17-cv-02565-SJF-SIL Document 1 Filed 04/28/17 Page 21 of 35 PageID #: 21




of reasonable diligence could they have known, of the untruths and omissions contained in the

Offering Materials for the Funds.

       67.     By reason of the conduct alleged herein, defendants violated, and/or controlled a

person who violated, §12(a)(2) of the 1933 Act. Accordingly, plaintiffs and members of the

Class who hold shares of the Fund have the right to rescind and recover the consideration paid

for their shares of the Fund and hereby elect to rescind and tender those shares to the defendants

sued herein. Plaintiffs and Class members who have sold their shares of the Fund are entitled to

rescissory damages.

                                            COUNT III

                            For Violation of §15 of the 1933 Act
                  Against Catalyst Advisors and the Individual Defendants

       68.     Plaintiffs incorporate all allegations in ^ 1 - 6 7 above by reference.

       69.     This Count is brought pursuant to §15 of the 1933 Act on behalf of plaintiffs and

the Class against Catalyst Advisors and the Individual Defendants.

       70.     Each of the Individual Defendants was a control person of the Fund by virtue of

his position as a director, Trustee and/or senior officer of the Fund, the Trust or Catalyst

Advisors. The Individual Defendants each had a series of direct and/or indirect business and/or

personal relationships with other Trustees, directors and/or officers and/or major shareholders of

the Fund.

       71.     Catalyst Advisors managed and controlled the business affairs of the Fund and

was a control person of the Fund. Catalyst Advisors and its directors and/or officers each had a

series of direct and/or indirect business and/or personal relationships with the Trustees, directors

and/or officers and/or major shareholders of the Fund.




                                                - 20 -
Case 2:17-cv-02565-SJF-SIL Document 1 Filed 04/28/17 Page 22 of 35 PageID #: 22




          72.    Each of the defendants named herein was each a culpable participant in the

violations of §§11 and 12(a)(2) of the 1933 Act alleged in Counts I and II above, based on their

having signed the Registration Statements and/or having otherwise participated in the process

which allowed the sale of the shares of the Fund to be successfully completed. By reason of

such conduct, the defendants named in this Count are liable pursuant to §15 of the 1933 Act.

                                       PRAYER FOR RELIEF

          WHEREFORE, plaintiffs pray for judgment as follows:

          A.     Determining that this action is a proper class action, designating plaintiffs as Lead

Plaintiffs and certifying plaintiffs as class representatives under Rule 23 of the Federal Rules of

Civil Procedure and plaintiffs' counsel as Lead Counsel;

          B.     Awarding damages and interest;

          C.     Awarding rescission and/or a rescissory measure of damages;

          D.     Awarding plaintiffs' reasonable costs, including attorneys' fees; and

                 Awarding such equitable/injunctive or other relief as the Court may deem just and

proper.

                                           JURY DEMAND

          Plaintiffs demand a trial by jury.

DATED: April 28, 2017                           ROBBINS GELLER RUDMAN
                                                 & DOWD LLP
                                                SAMUEL H. RUDMAN
                                                EVAN J. KAUFMAN



                                                               /s/ Samuel H. Rudman
                                                              SAMUEL H. RUDMAN




                                                 - 21 -
Case 2:17-cv-02565-SJF-SIL Document 1 Filed 04/28/17 Page 23 of 35 PageID #: 23




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                                    scotth@johnsonweaver.com

                                    Attorneys for Plaintiffs




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                      Case 2:17-cv-02565-SJF-SIL Document 1 Filed 04/28/17 Page 24 of 35 PageID #: 24



                                                                       CERTIFICATION OF PLAINTIFF PURSUANT
                                                                         TO THE FEDERAL SECURITIES LAWS

                               I, ROGER EMERSON, declare the following as to the claims asserted, or to be asserted,
                        under the federal securities laws;
                                        1.             I have reviewed the complaint with my counsel and authorize its filing.

                                       2.              I did not acquire the securities that are the subject of this action at the direction of

                       plaintiffs counsel or in order to participate in any private action or any other litigation under the

                       federal securities laws.

                                                       I am willing to serve as a representative party on behalf of the class, including

                       testifying at deposition or trial, if necessary.

                                                       I made the following transactions during the Class Period in the securities that are

                       the subject of this action.

                                       See Schedule A
                       Acquisitions:                                              Date Acquired &   Number of Shares   Acquisition Price Per
                                                                                   Ticker Symbol       Acquired               Share




                       Sales:                                                         Date Sold &   Number of Shares     Selling Price Per
                                                                                    Ticker Symbol        Sold                  Share




                                                       I will not accept any payment for serving as a representative party beyond my

                       pro-rata share of any recovery, except reasonable costs and expenses - such as lost wages and

                       travel expenses - directly related to the class representation, as ordered or approved by the Court

                       pursuant to law.

                                       6.             I have not sought to serve or served as a representative party for a class in an

                       action under the federal securities laws within the past three years, except if detailed below:
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                      Case 2:17-cv-02565-SJF-SIL Document 1 Filed 04/28/17 Page 25 of 35 PageID #: 25




                                       I declare under penalty of perjury under the laws of the United States of America that the

                       foregoing is true and correct.

                                       Executed this 26 th day of April 2017.

                                                                                                            y-    OocuSigned by:

                                                                                                                 Ufpr    fammi
                                                                                                            ^     85510200C7C04C3

                                                                                                                ROGER EMERSON
uocuoign envelope IU; j u u / D o o ^ - z M Z C - ^ O L / y - y u i r - u t ^ o l o y o / o o i
                    Case 2:17-cv-02565-SJF-SIL Document 1 Filed 04/28/17 Page 26 of 35 PageID #: 26




                                                                                                  Schedule A



                    Acquisitions:

                    7/17/15 Buy HFXAX 11,981.567 shares at $10.85/share

                    12/21/15 Reinvest dividends HFXAX 151.201 shares at $10.88/share

                    12/20/16 Reinvest dividends HFXAX 1247.969 shares at $10.01/share



                    Sales:

                    9/9/16 Sell HFXAX 580.913 shares at $12.05/share

                    Total remaining shares as of 4/26/17 -12,799.824
u o c u o i g n e n v e l o p e IU; i M / C M ^ u u - u y i y - ^ 0 u ^ - A U L / 0 - 4 U D D L ; 0 u / D IUO
                       Case 2:17-cv-02565-SJF-SIL Document 1 Filed 04/28/17 Page 27 of 35 PageID #: 27



                                                                      CERTIFICATION OF PLAINTIFF PURSUANT
                                                                        TO THE FEDERAL SECURITIES LAWS

                               I, MARY EMERSON, declare the following as to the claims asserted, or to be asserted, under
                       the federal securities laws:

                                        1.             I have reviewed the complaint with my counsel and authorize its filing.

                                       2.              I did not acquire the securities that are the subject of this action at the direction of

                       plaintiffs counsel or in order to participate in any private action or any other litigation under the

                       federal securities laws.

                                                       I am willing to serve as a representative party on behalf of the class, including

                       testifying at deposition or trial, if necessary.

                                       4               I made the following transactions during the Class Period in the securities that are

                       the subject of this action.

                                       See Schedule A
                       Acquisitions:                                             Date Acquired &                Number of Shares   Acquisition Price Per
                                                                                  Ticker Symbol                    Acquired               Share




                       Sales:                                                         Date Sold &               Number of Shares     Selling Price Per
                                                                                   Ticker Symbol                     Sold                  Share




                                                      1 will not accept any payment for serving as a representative party beyond my

                       pro-rata share of any recovery, except reasonable costs and expenses - such as lost wages and

                       travel expenses - directly related to the class representation, as ordered or approved by the Court

                       pursuant to law.

                                      6.              I have not sought to serve or served as a representative party for a class in an

                       action under the federal securities laws within the past three years, except if detailed below:
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                         I declare under penalty of perjury under the laws of the United States of America that the

               foregoing is true and correct.

                         Executed this 26 th day of April 2017.

                                                                             — - D o c u S i g n o d by:

                                                                               A-Un^
                                                                         ^        8 6 5 1 9 2 0 0 C 7C04 C3

                                                                         MARY EMERSON
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             Schedule A
             Acquisitions:
             7/17/15 Buy HFXAX 6,728.111 shares at $10.85/share
             12/21/15 Reinvest dividend HFXAX 84.905 shares at $10.88/share
             12/20/16 Reinvest dividend HFXAX 507.102 shares at $10.01/share




             Sales:
             4/1/16 Sell HFXAX 229.779 shares at $10.88/share
              4/20/16 Sell HFXAX 227.058 shares at $10.57/share
             5/16/16 Sell HFXAX 212.955 shares at $11.27/share
             6/15/16 Sell HFXAX 210.896 shares at $11.38/share
              7/18/16 Sell HFXAX 216.216 shares at $ 11.10/share
             8/16/16 Sell HFXAX 204.953 shares at $11.71/share
             9/15/16 Sell HFXAX 198.840 shares at $12.07/share
             10/17/16 Sell HFXAX 198.675 shares at $12.08/share
             11/16/16 Sell HFXAX 200.669 shares at $11.96/share
             12/15/16 Sell HFXAX 218.978 shares at $10.96/share
             2/27/17 Sell HFXAX 168.801 shares at $8.59/share
           Case 2:17-cv-02565-SJF-SIL Document 1 Filed 04/28/17 Page 30 of 35 PageID #: 30
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                                     CERTIFICATION OF PLAINTIFF PURSUANT
                                       TO THE FEDERAL SECURITIES LAWS

                    I, ROBERT CAPLIN, declare the following as to the claims asserted, or to be asserted, under
            the federal securities laws:

                      1.     I have reviewed the complaint with my counsel and authorize its filing,

                     2.      I did not acquire the securities that are the subject of this action at the direction of

            plaintiffs counsel or in order to participate in any private action or any other litigation under the

            federal securities laws.

                     3.      I am willing to serve as a representative party on behalf of the class, including

            testifying at deposition or trial, if necessary.

                     4.      I made the following transactions during the Class Period in the securities that are

            the subject of this action.


            Acquisitions:                  Date Acquired &          Number of Shares         Acquisition Price Per
                                            Ticker Symbol              Acquired                     Share
                                          See Schedule A Attached




            Sales:                            Date Sold &           Number of Shares           Selling Price Per
                                            Ticker Symbol                Sold                        Share

                                          See Schedule A Attached




                             I will not accept any payment for serving as a representative party beyond my

           pro-rata share of any recovery, except reasonable costs and expenses - such as lost wages and

           travel expenses - directly related to the class representation, as ordered or approved by the Court

           pursuant to law.

                     6.     I have not sought to serve or served as a representative party for a class in an

           action under the federal securities laws within the past three years, except if detailed below:
            Case 2:17-cv-02565-SJF-SIL Document 1 Filed 04/28/17 Page 31 of 35 PageID #: 31
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                     I declare under penalty of perjury under the laws of the United States of America that the

            foregoing is true and correct.

                     Executed this 26 lh day of April 2017.

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                                                                 ROBERT CAPLIN
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                            SCHEDULE A
           Robert Capiin's Catalyst Hedged Futures Strategy Fund
                           (HFXIX) Transactions
Acquisitions

Date Acquired             Amount of Securities Acquired          Price
IRA
09/16/2016                2,798.354                              $12.15
 12/19/2016               208.226                                $10.09
12/19/2016                91.689                                 $10.09
Non-Qualified
09/16/2016                2,304.527                              $12.15
12/19/2016                171.481                                $10.09
12/19/2016                75.508                                 $10.09
Roth IRA
08/08/2016               514.58                                  $11.66
09/30/2016               245.902                                 $12.20
12/19/2016               56.588                                  $10.09
12/19/2016               24.918                                  $10.09

Sales

Date Sold                Amount of Securities Sold               Price
IRA
03/02/2017               3,098.269                               $8.50
Non-Qualified
03/02/2017               2,551.516                               $8.50
Roth IRA
03/02/2017               841.9880                               $8.50
          Case 2:17-cv-02565-SJF-SIL Document 1 Filed 04/28/17 Page 33 of 35 PageID #: 33
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                                   CERTIFICATION OF PLAINTIFF PURSUANT
                                       TO THE FEDERAL SECURITIES LAWS
                    I, Martha J. Goodlett, declare the following as to the claims asserted, or to be asserted,
            under the federal securities laws:
                      1.     I have reviewed the complaint with my counsel and authorize its filing.

                     2.      I did not acquire the securities that are the subject of this action at the direction of

            plalntifPs counsel or in order to participate in any private action or any other litigation under the

            federal securities laws.

                     3.      [ a m willing to serve as a representative party on behalf of the class, including

            testifying at deposition or trial, if necessary.

                     4.      I made the following transactions during the Class Period in the securities that are

            the subject of this action.

                     See Schedule A
            Acquisitions:                  Date Acquired &          Number of Shares         Acquisition Price Per
                                            Ticker Symbol              Acquired                     Share




            Sales:                           Date Sold &            Number of Shares           Selling Price Per
                                            Ticker Symbol                Sold                        Share




                     5.     1 will not accept any payment for serving as a representative party beyond my

            pro-rata share of any recovery, except reasonable costs and expenses - such as lost wages and

           travel expenses - directly related to the class representation, as ordered or approved by the Court

           pursuant to law.

                     6.     I have not sought to serve or served as a representative party for a class in an

           action under the federal securities laws within the past three years, except if detailed below:
           Case 2:17-cv-02565-SJF-SIL Document 1 Filed 04/28/17 Page 34 of 35 PageID #: 34
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                    I declare under penalty of perjury under the laws of the United States of America that the

            foregoing is true and correct.

                    Executed Ihis 26 ,h day of April 2017.

                                                             x * — O o c u S i g n e d by:




                                                             Soaraodiett
Case 2:17-cv-02565-SJF-SIL Document 1 Filed 04/28/17 Page 35 of 35 PageID #: 35




                                    Schedule A




 Acquisitions: HFXCX
 Purchase 3783.23 shares at $9,78 on 1/26/17
 Purchase 2824.36 shares at $11.33 on 8/5/16
 Purchase 4512.64 shares at $11.08 on 6/10/16
 Purchase 270.76 shares at $11.08 for $3004.75 on 6/10/16



 Sales; HFXCX
 Sold 270.76 shares at $8.16 on 3/14/17
 Sold 11,120.23 shares at $8.16 on 3/14/17
